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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK

PHARO GAIA FUND, LTD. and PHARO
MACRO FUND, LTD.,
                                                      Case No. 19-cv-3123 (AT)
                         Plaintiffs,                  Related to 18-cv-11940 (AT)
        v.
THE BOLIVARIAN REPUBLIC OF
VENEZUELA,
                         Defendant.

CASA EXPRESS CORP, as Trustee of CASA
EXPRESS TRUST,
                                                      Case No. 18-cv-11940 (AT)
                         Plaintiff,                   Related to 19-cv-3123 (AT)
        v.
THE BOLIVARIAN REPUBLIC OF
VENEZUELA,
                         Defendant.



        NOTICE OF CONSOLIDATED MOTION FOR SUMMARY JUDGMENT

       PLEASE TAKE NOTICE that, upon the accompanying consolidated Memorandum of

Law, dated December 5, 2019, the accompanying Declarations of Jeffrey Hanlon and Luis

Edgardo Gamardo Medina, and the Joint Declaration of Matthew D. McGill and Jeremy L.

Wallison, all dated December 5, 2019, Plaintiffs Pharo Gaia Fund, Ltd., Pharo Macro Fund, Ltd.,

and Casa Express Corp, as Trustee of Casa Express Trust, by and through their undersigned

counsel, make a consolidated motion to this Court before the Honorable Analisa Torres, United

States District Court for the Southern District of New York, 500 Pearl Street, New York, New

York, for an order granting summary judgment on all of Plaintiffs’ claims in favor of Plaintiffs

pursuant to Federal Rule of Civil Procedure 56, and for such further relief as the Court deems just,

necessary, and proper.
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       PLEASE TAKE FURTHER NOTICE that, in accordance with the July 8, 2019 Scheduling

Order entered in these actions (19-cv-3123, ECF No. 26; 18-cv-11940, ECF No. 46), Defendant’s

opposition is to be filed along with any cross-motion for a stay by January 16, 2020, Plaintiffs’

consolidated reply in support of their motion for summary judgment is to be filed and served along

with their opposition to Defendant’s cross-motion for a stay by February 6, 2020, and Defendant’s

reply in support of its cross-motion for a stay is to be filed by February 27, 2020.

Dated: December 5, 2019                                  Respectfully submitted,


 /s/ Jeremy L. Wallison .                                /s/ Matthew D. McGill .
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 as Trustee of Casa Express Trust                        AChampion@gibsondunn.com
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                                                         Counsel for Plaintiffs Pharo Gaia
                                                         Fund, Ltd. and Pharo Macro Fund,
                                                         Ltd.




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